             Case 22-59862-bem                       Doc 1           Filed 12/05/22 Entered 12/05/22 14:04:48                             Desc
                                                                    Petition Page 1 of 8

                                                                                                                          FILEU IN CLERK'S OFFICE
 Fill in this information to identify the case:                                                                           U.S. BANKRUPTCY
                                                                                                                                           COURT
                                                                                                                            NORTHERN DISTRICT
 United States Bankruptcy Court for the:
                                                                                                                                OF GEORGIA

  Northern                  District of Georgia
                                                                                                                         2022    DEC -5 PM 2: 02
                                      (State)
 Case number (If known):                                          Chapter 7                                                     H. REPiirt wtAii is an
                                                                                                                                     htLW
                                                                                                                                       am      de filing
                                       -
             12            —

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                               Green Box 101, LLC




 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                   8    7      _ 0      8   7    7   5    9   5
    Identification Number (EIN)



 4. Debtor's address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                           of business

                                                250 Pharr Road NE
                                            Number            Street                                       Number      Street

                                                Unit 1212
                                                                                                           P.O. Box

                                                Atlanta                           Ga           30305
                                            City                                  State        ZIP Code    City                        State       ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                Fulton
                                            County
                                                                                                           Number      Street




                                                                                                           City                        State       ZIP Code




 5. Debtor's website (URL)




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Debtor       Green Box 101, LLC                                                                Case number (If known)
             Name



                                             al Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                             0 Partnership (excluding   LLP)
                                             0 Other. Specify:
                                             A. Check one:
 7. Describe debtor's business
                                             D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             El Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             0 Railroad (as defined in 11 U.S.C. § 101(44))
                                             0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             0 None of the above

                                             B.Check all that apply:

                                             0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         r                                                                  70_1111.1MAK-VM_INC--     -7*11/27-4Tiaie
                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                htto://vwm.uscourts.o ov/four-digit-national-association-naics-codes .



 8. Under which chapter of the               Check one:
    Bankruptcy Code is the
    debtor filing?
                                             3 Chapter 7
                                                Chapter 9
                                                Chapter 11. Check all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                       O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                             11 U.S.C. § 1116(1)(B).
     check the second sub-box.                               ▪    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                             U A plan is being filed with this petition.

                                                              •   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              •   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             U The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                             0 Chapter 12




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor        Green Box 101, LLC                                                           Case number (if known)
             Name



 s. Were prior bankruptcy cases         El No
    filed by or against the debtor
    within the last 8 years?             0 Yes.    District                             When                        Case number
                                                                                               MM! DD / YYYY
     If more than 2 cases, attach a
                                                   District                             When                        Case number
     separate list.
                                                                                               MM! DD /YYYY

 10. Are any bankruptcy cases            13 No
     pending or being filed by a
     business partner or an              0 Yes.    Debtor                                                           Relationship
     affiliate of the debtor?                      District                                                         When
                                                                                                                                   MM / DD      /YYYY
     List all cases. If more than 1,
     attach a separate list.                       Case number, if known


     Why is the case filed in this       Check all that apply:
     district?
                                         3 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have IA No
     possession of any real        0 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                 Why does the property need immediate attention? (Check all that apply.)
     attention?
                                          LI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  0    Other



                                                  Where is the property?
                                                                               Number          Street



                                                                               City                                                State ZIP Code


                                                  Is the property insured?
                                                  ID No
                                                  0    Yes. Insurance agency

                                                              Contact name

                                                              Phone




             Statistical and administrative information




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Debtor       Green Box 101, LLC                                                                 Case number (If known)
             Name




 13. Debtor's estimation of              Check one:
     available funds                     0 Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         123 1-49                           0 1,000-5,000                                  0 25,001-50,000
 14.Estimated number of                  0 50-99                            0 5,001-10,000                                 0 50,001-100,000
    creditors
                                         0 100-199                          0 10,001-25,000                                0 More than 100,000
                                         0 200-999

                                             $0-$50,000                         $1,000,001-$10 million                        $500,000,001-$1 billion
 15.Estimated assets                         $50,001-$100,000                   $10,000,001-$50 million                    0 $1,000,000,001-$10 billion
                                         3 $100,001-$500,000                    $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  D More than $50 billion

                                             $0-$50,000                         $1,000,001-$10 million                        $500,000,001-$1 billion
 16.Estimated liabilities                    $50,001-$100,000               0 $10,000,001-$50 million                      0 $1,000,000,001410 billion
                                         3 $100,001-$500,000                    $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  0 More than $50 billion




11111        Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on   12/5/2022
                                                           MM / DD /YYYY

                                                                                                            Holly Morse
                                             111;411:11:elec 52022 53 05 ASTI
                                             Signature of authorized representative of debtor               Printed name

                                             Title Member




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
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Debtor       Green Box 101, LLC                                                 Case number   it known)
            Name




 18. Signature of attorney                                                                                12/05/2022
                                                                                           Date
                                  Signature of attorney for                                               MM      /DD / YYYY



                                  Brandon D. Wagner
                                  Printed name


                                  Firm name
                                  5090 Duval Point Way SW
                                  Number         Street
                                  Snellville                                                      GA               30039
                                  City                                                            State            ZIP Code

                                  (770) 685-7088                                                  bdwagneresq@gmail.com
                                  Contact phone                                                   Email address



                                   wtcx0-1
                                  Bar number
                                                                                                    GA
                                                                                                  State




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                    NATIONSTAR MORTGAGE, LLC DBA MR. COOPER
                    8950 CYPRESS WATERS BLVD.
                    COPPELL, TEXAS 75019

                    MCCALLA RAYMER LEIBERT PIERCE, LLC
                    1544 OLD ALABAMA ROAD
                    ROSWELL, GEORGIA 30076
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT 4t01269869 (HD) OF 12/05/2022


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1      7N    22-59862              1                     $ 338.00   Check/MO
                Judge - unknown at time of receipt
                Debtor - GREEN BOX 101, LLC


TOTAL:                                                      $ 338.00


FROM: Brandon D. Wagner
      5090 Duval Point Way SW
      Snellville, GA 30039
      770-685-7088




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               Case 22-59862-bem                Doc 1        Filed 12/05/22 Entered 12/05/22 14:04:48                               Desc
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Case Number: 22-59862                           Name: Green Box 101, LLC                            Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

 10 Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                        0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 O Signed Statement of SSN                                                               X
                                                                                         O Other: Electronic signature of debtor

MISSING DOCUMENTS DUE WITHIN 14 DAYS
1E1 Statement of Financial Affairs                                                                      Case filed via:
El Schedules: A/B, D, E/F, G, H                                                    CZ Intake Counter by:
    Summary of Assets and Liabilities                                                   El Attorney 770-685-7088
El Declaration About Debtor(s) Schedules                                                O Debtor
O Attorney Disclosure of Compensation                                                   O Other:
El Petition Preparer's Notice, Declaration and Signature (Form 119)                O Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                         El Attorney
O Chapter 13 Current Monthly Income                                                   0 Debtor
O Chapter 7 Current Monthly Income                                                    O Other:
O Chapter 11 Current Monthly Income
0 Certificate of Credit Counseling (Individuals only)                              El Email [Pursuant to General Order 45-2021, this petition
O Pay Advices (Individuals only) (2 Months)                                        was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
▪ Corporate Resolution (Non-Individual Ch. 7 & 11)                                               Histo       of Case Association
                                                                                   Prior cases within       ear':
MISSING DOCUMENTS DUE WITHIN 30 DAYS
El Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature.
 Ch.11 Business                                                                    Acknowledgment of receipt f eficiency Notice
 1=1 20 Largest Unsecured Creditors
 O List of Equity Security Holders
 O Small Business - Balance Sheet                                                  Intake Clerk:      ND             ID Verified a     Date:12/5/22
 O Small Business - Statement of Operations
 0 Small Business - Cash Flow Statement
 1=1 Small Business - Federal Tax Returns


FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
         Paid $338.00 ck

                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
